    8:06-cr-00116-RFR-MDN            Doc # 752     Filed: 07/16/09      Page 1 of 1 - Page ID # 8008

                                 IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )               8:06CR116
                    Plaintiff,                    )
                                                  )
    vs.                                           )               ORDER
                                                  )
CHARMAR BROWN,                                    )
                                                  )
               Defendant.                         )


     After a review of the record, I find that the above-named defendant remains eligible for appointment of
counsel pursuant to the Criminal Justice Act, 18 U.S.C. §3006A, and the Amended Criminal Justice Act Plan
for the District of Nebraska.

    IT IS ORDERED:

      Jessica Milburn is appointed to represent the above named defendant in this matter and shall forthwith
file a written appearance in this matter.

     IT IS FURTHER ORDERED that counsel's appointment herein is made pursuant to 18 U.S.C.
§3006A(f). At the time of the entry of judgment herein, defendant shall file a current and complete financial
statement to aid the court in determining whether any portion of counsel's fees and expenses should be
reimbursed by defendant.

    IT IS FURTHER ORDERED that the Clerk shall provide a copy of this order to the Federal Public
Defender and Jessica Milburn.

    DATED this 16th day of July, 2009.

                                                  BY THE COURT:


                                                  s/ Laurie Smith Camp
                                                  United States District Judge
